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                             UNITED STATES DISTRICT COURT
                                 DISTRICT OF COLUMBIA

SAIM SARWAR                                          :
161 Minna St.                                        :
Brooklyn, NY 11218-2014                              :
                                                     :
               Plaintiff,                            :   Case No.
                                                     :
v.                                                   :
                                                     :
DOYLE DUPONT LLC                                     :
1500 New Hampshire Ave NW                            :
Washington, DC 20036,                                :
                                                     :
            Defendant.                               :
_______________________________________/

                                          COMPLAINT
                                   (Injunctive Relief Demanded)

       Plaintiff, SAIM SARWAR, Individually, on his behalf and on behalf of all other individuals

similarly situated, (sometimes referred to as “Plaintiff”), hereby sues the Defendant, DOYLE

DUPONT LLC, A Washington, DC Corporation, (sometimes referred to as “Defendant”), for

Injunctive Relief, and attorney’s fees, litigation expenses, and costs pursuant to the Americans with

Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”).

1.             Plaintiff is a resident of New York, is sui juris, and qualifies as an individual with

               disabilities as defined by the ADA. Plaintiff is unable to engage in the major life

               activity of walking more than a few steps without assistive devices. Plaintiff

               ambulates in a wheelchair or with a cane or other support and has limited use of his

               hands. He is unable to tightly grasp, pinch and twist of the wrist to operate. When

               ambulating beyond the comfort of his own home, Plaintiff often uses a wheelchair

               or other assistive device. Plaintiff requires accessible handicap parking spaces located
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        closet to the entrances of a facility. The handicap and access aisles must be of

        sufficient width so that he can embark and disembark from a ramp into a vehicle.

        Routes connecting the handicap spaces and all features, goods and services of a

        facility must be level, properly sloped, sufficiently wide and without cracks, holes or

        other hazards that can pose a danger of tipping, catching wheels or falling. These

        areas must be free of obstructions or unsecured carpeting that make passage either

        more difficult or impossible. Amenities must be sufficiently lowered so that Plaintiff

        can reach them. He has difficulty operating door knobs, sink faucets, or other

        operating mechanisms that tight grasping, twisting of the wrist or pinching. He is

        hesitant to use sinks that have unwrapped pipes, as such pose a danger of scraping

        or burning his legs. Sinks must be at the proper height so that he can put his legs

        underneath to wash his hands. He requires grab bars both behind and beside a

        commode so that he can safely transfer and he has difficulty reaching the flush

        control if it is on the wrong side. He has difficulty getting through doorways if they

        lack the proper clearance.

2.      Plaintiff is an advocate of the rights of similarly situated disabled persons and is a

        "tester" for the purpose of asserting his civil rights and monitoring, ensuring, and

        determining whether places of public accommodation and their websites are in

        compliance with the ADA.

3.      According to the county property records, Defendant owns a place of public

        accommodation as defined by the ADA and the regulations implementing the ADA,

        28 CFR 36.201(a) and 36.104. The place of public accommodation that the


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        Defendant owns is a place of lodging known as DuPont Circle Hotel, 1500 New

        Hampshire Ave NW, Washington, DC 20036 (hereinafter "Property").

4.      Venue is properly located in this District because the subject property is located in

        this district.

5.      Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has been given

        original jurisdiction over actions which arise from the Defendant’s violations of Title

        III of the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. See also 28

        U.S.C. § 2201 and § 2202.

6.      As the owner of the subject place of lodging, Defendant is required to comply with

        the ADA. As such, Defendant is required to ensure that it's place of lodging is in

        compliance with the standards applicable to places of public accommodation, as set

        forth in the regulations promulgated by the Department Of Justice. Said regulations

        are set forth in the Code Of Federal Regulations, the Americans With Disabilities Act

        Architectural Guidelines ("ADAAGs"), and the 2010 ADA Standards, incorporated

        by reference into the ADA. These regulations impose requirements pertaining to

        places of public accommodation, including places of lodging, to ensure that they are

        accessible to disabled individuals.

7.      More specifically, 28 C.F.R. Section 36.302(e)(1) imposes the following

        requirement:

        Reservations made by places of lodging. A public accommodation that owns,
        leases (or leases to), or operates a place of lodging shall, with respect to
        reservations made by any means, including by telephone, in-person, or through a
        third party -



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                (I) Modify its policies, practices, or procedures to ensure that individuals
                with disabilities can make reservations for accessible guest rooms during
                the same hours and in the same manner as individuals who do not need
                accessible rooms;
                (ii) Identify and describe accessible features in the hotels and guest rooms
                offered through its reservations service in enough detail to reasonably
                permit individuals with disabilities to assess independently whether a
                given hotel or guest room meets his or her accessibility needs;
                (iii) Ensure that accessible guest rooms are held for use by individuals
                with disabilities until all other guest rooms of that type have been rented
                and the accessible room requested is the only remaining room of that type;
                (iv) Reserve, upon request, accessible guest rooms or specific types of
                guest rooms and ensure that the guest rooms requested are blocked and
                removed from all reservations systems; and
                (v) Guarantee that the specific accessible guest room reserved through its
                reservations service is held for the reserving customer, regardless of
                whether a specific room is held in response to reservations made by others.

8.       These regulations became effective March 15, 2012.

9.       Defendant, either itself or by and through a third party, accepts reservations for its

         hotel online through one or more websites. The purpose of these websites are so

         that members of the public may reserve guest accommodations and review

         information pertaining to the goods, services, features, facilities, benefits,

         advantages, and accommodations of the Property. As such, these websites are

         subject to the requirements of 28 C.F.R. Section 36.302(e).

10.      Prior to the commencement of this lawsuit, Plaintiff visited the websites for the

         purpose of reviewing and assessing the accessible features at the Property and

         ascertain whether they meet the requirements of 28 C.F.R. Section 36.302(e) and

         his accessibility needs. However, Plaintiff was unable to do so because Defendant

         failed to comply with the requirements set forth in 28 C.F.R. Section 36.302(e).

         As a result, Plaintiff was deprived the same goods, services, features, facilities,


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         benefits, advantages, and accommodations of the Property available to the general

         public. Specifically, the following violations were found:

         •      The website for the hotel located at booking.com did not identify or allow

                for reservation of accessible guest rooms and did not provide sufficient

                information regarding accessability at the hotel.

         •      The website for the hotel located at expedia.com did not identify or allow

                for reservation of accessible guest rooms and did not provide sufficient

                information regarding accessability at the hotel.

         •      The website for the hotel located at hotels.com did not identify or allow

                for reservation of accessible guest rooms and did not provide sufficient

                information regarding accessability at the hotel.

         •      The website for the hotel located at agoda.com did not identify or allow

                for reservation of accessible guest rooms and did not provide sufficient

                information regarding accessability at the hotel.

         •      The website for the hotel located at orbitz.com did not identify or allow for

                reservation of accessible guest rooms and did not provide sufficient

                information regarding accessability at the hotel.

         •      The website for the hotel located at cheaptickets.com did not identify or

                allow for reservation of accessible guest rooms and did not provide

                sufficient information regarding accessability at the hotel.

11.      In the near future, Plaintiff intends to revisit Defendant's online reservations

         system in order to test it for compliance with 28 C.F.R. Section 36.302(e). In this


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         respect, Plaintiff maintains a system to ensure that he revisits the online

         reservations system of every hotel he sues. By this system, Plaintiff maintains a

         list of all hotels he has sued with several columns following each. he continually

         updates this list by, among other things, entering the dates he did visit and plans to

         again visit the hotel's online reservations system. With respect to each hotel, he

         visits the online reservations system multiple times prior to the complaint being

         filed, then visits again shortly after the complaint is filed. Once a judgment is

         obtained or settlement agreement reached, he records the date by which the hotel's

         online reservations system must be compliant and revisits when that date arrives.

12.      Plaintiff is continuously aware that the subject websites remain non-compliant and

         that it would be a futile gesture to revisit the websites as long as those violations

         exist unless he is willing to suffer additional discrimination.

13.      The violations present at Defendant's websites infringe Plaintiff's right to travel

         free of discrimination and deprive him of the information required to make

         meaningful choices for travel. Plaintiff has suffered, and continues to suffer,

         frustration and humiliation as the result of the discriminatory conditions present at

         Defendant's website. By continuing to operate the websites with discriminatory

         conditions, Defendant contributes to Plaintiff's sense of isolation and segregation

         and deprives Plaintiff the full and equal enjoyment of the goods, services,

         facilities, privileges and/or accommodations available to the general public. By

         encountering the discriminatory conditions at Defendant's websites, and knowing

         that it would be a futile gesture to return to the websites unless he is willing to


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         endure additional discrimination, Plaintiff is deprived of the same advantages,

         privileges, goods, services and benefits readily available to the general public. By

         maintaining websites with violations, Defendant deprives Plaintiff the equality of

         opportunity offered to the general public. Defendant's online reservations system

         serves as a gateway to its hotel. Because this online reservations system

         discriminates against Plaintiff, it is thereby more difficult to book a room at the

         hotel or make an informed decision as to whether the facilities at the hotel are

         accessible.

14.      Plaintiff has suffered and will continue to suffer direct and indirect injury as a

         result of the Defendant’s discrimination until the Defendant is compelled to

         modify its websites to comply with the requirements of the ADA and to

         continually monitor and ensure that the subject websites remain in compliance.

15.      Plaintiff has a realistic, credible, existing and continuing threat of discrimination

         from the Defendant’s non-compliance with the ADA with respect to these

         websites. Plaintiff has reasonable grounds to believe that he will continue to be

         subjected to discrimination in violation of the ADA by the Defendant.

16.      The Defendant has discriminated against the Plaintiff by denying him access to,

         and full and equal enjoyment of, the goods, services, facilities, privileges,

         advantages and/or accommodations of the subject websites.

17.      The Plaintiff and all others similarly situated will continue to suffer such

         discrimination, injury and damage without the immediate relief provided by the

         ADA as requested herein.


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18.      Defendant has discriminated against the Plaintiff by denying him access to full

         and equal enjoyment of the goods, services, facilities, privileges, advantages

         and/or accommodations of its place of public accommodation or commercial

         facility in violation of 42 U.S.C. § 12181 et seq. and 28 CFR 36.302(e).

         Furthermore, the Defendant continues to discriminate against the Plaintiff, and all

         those similarly situated by failing to make reasonable modifications in policies,

         practices or procedures, when such modifications are necessary to afford all

         offered goods, services, facilities, privileges, advantages or accommodations to

         individuals with disabilities; and by failing to take such efforts that may be

         necessary to ensure that no individual with a disability is excluded, denied

         services, segregated or otherwise treated differently than other individuals because

         of the absence of auxiliary aids and services.

19.      Plaintiff is without adequate remedy at law and is suffering irreparable harm.

         Plaintiff has retained the undersigned counsel and is entitled to recover attorney’s

         fees, costs and litigation expenses from the Defendant pursuant to 42 U.S.C. §

         12205 and 28 CFR 36.505.

20.      Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant

         Plaintiff Injunctive Relief, including an order to require the Defendant to alter the

         subject websites to make them readily accessible and useable to the Plaintiff and

         all other persons with disabilities as defined by the ADA and 28 C.F.R. Section

         36.302(e); or by closing the websites until such time as the Defendant cures its

         violations of the ADA.


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WHEREFORE, Plaintiff respectfully requests:

      a.      The Court issue a Declaratory Judgment that determines that the Defendant at the

              commencement of the subject lawsuit is in violation of Title III of the Americans

              with Disabilities Act, 42 U.S.C. § 12181 et seq. and 28 C.F.R. Section 36.302(e).

      b.      Injunctive relief against the Defendant including an order to revise its websites to

              comply with 28 C.F.R. Section 36.302(e) and to implement a policy to monitor and

              maintain the websites to ensure that it remains in compliance with said requirement.

      c.      An award of attorney’s fees, costs and litigation expenses pursuant to 42 U.S.C.

              § 12205.

      d.      Such other relief as the Court deems just and proper, and/or is allowable under

              Title III of the Americans with Disabilities Act.

              Respectfully Submitted,

                                            Respectfully Submitted,

                                            Thomas B. Bacon, P.A.
                                            5150 Cottage Farm Rd.
                                            Johns Creek, GA 30022
                                            ph. (404) 276-7277
                                            gillespie.tristan@gmail.com
                                            DC Bar ID No. 1030101

                                            By: /s/ Tristan W. Gillespie
                                                Tristan W. Gillespie, Esq.




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